USDA
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                                           Unltod States Department ol Agricutture
                                          Animal and Plant HoaHh 1nspec1ion Service

                                                   Inspection Report
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PAMELA SELLNER
TOM SELLNER                                                         Customer I0 : S143
                                                                       Cortllicate· 42-C-0084
                                                                              Slie· 001
                                                                              l(:lf.t l PAUQ..A SEU.HER
CRICKET HOLLOW ZOO
t512 2tOTH STREET
                                                                             Type· ROUTINE tNSPECTlON
                                                                              Date· Nov-22-20t0
MANCHESTER, lA 52057

 2.40              (b)      (2)                     REPEAT
 ATTENOING VETERINARIAN AND ADEOUATE VETERINARY CARE (DEALERS AND EXHIBITORS~
Each exhtilor shal es&ablsh and maintain a ptCQ~am ~ adeQuale velennary c::are that includes the use of
CIAWQPriate melhods: 10 ptevet'll, conlrol, ciegnole, and treat diatiM'S and ~

 The ~goal havil'1j tile antl!riot hall ol the body~- and the postenor half bemg -                          has a mass
 approximalely tile size ola golf ball on tile~~~ -  ol oil jow. Tl'o& goal ""' not bO<!n evaluated by the att.-,g
...,.atlnariall.
             This does not poocwtda "" tne -        """   we• belt'9 oltlle goat. The goal muSI be ev.lluated by the
 anencing vetetinarian and lhe prescnbed treatment must be administered.

The Toggenburg goat has cxce:ssivety tong hOOves on lis rear kiQ$. This can cause pain and discomfon to lhe goat
Excessively long hooves can result in In muteuiO&ke.al changes which can result in lameness. The hooves, mu~ be
trimmed 10 remove lhe excessNe growth.

3.125              (a)
FACILrTIES, GENERAL
Slructural strength. The facillly mus1 be oonstrUCiod ol such material and of such strength as appropriate for the
e~nimals involved. The indoOf and outdoor housing taclhtJGS shall be structurally sound and shall be maintained in
good ropa!r to protect thO animals from Injury and to contain tho animals.

The west side ol Dandy liOn's den box !s in diStopair. Tho upper right ca.oner Is oo longer securely attached to the
den box. When tho lion iump9d on tho don bOx. tho den box shook. This damage has Impacted the structu(al
integrity of the den box. The east side of the tallow enclosure is in distepair. A wooden fence post has snapped off
at the bottom. The east lance In lht camel enclosure la in d!Jfepail. The root ot the enctosute hOusing the two
yearling bear cubs sags and is not structurally sound. The southwest side of the coyote enclosure has wire mesh
that is in disrepair. Wire mesh and sharp points prouudo into the enclosure.

These situations can pose physk:aJ hlllards 10 l.he animals In the cases ol the fence and bear enclosure, the ability
of the structures to contain the animals Ia alfectod.



                                        C il.JTH!t.. !lEI:. ' ~ ~
Pr01)ared By:
                         CYNTHIA M NElS, A C I            USDA. APHIS, Animal Care                        Date:
      Title:                                                                                          Nov-22-20t0

Received By:
                                                                                                      Date:
      TiUe:                                                                                           Nov-23-20t0
                     Case 6:14-cv-02034-JSS           Case #C14-2034-JSS
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3.127               (b)                            REPEAT
FACtlmES. OUTDOOR.
Sl>elterlrom -~ wealller. Narural or anilicial shelter appropr\alo 10 lhe local Clima!JO c:onditiorls lor 111e spedes
(.C)n()8fned ahell be pmvlded tor 81 animals kepi outdoors to afford them ptOCICbOn and to prevent (iscomfon to such
animals tndr'viclJal animals shall bo aocllmated befOr'e they are expo$ed to the ex11omos of thelndMduat ctamate.

One eneiosurt contains 17 Jacob's four homed she~ and one Barbadoalheep and afiOtnet enoto&u contains 20
Santa Cru2 Shoop. These enclosures each have one quonset type of snotler There are two yearling be31 cubs in an
enclosure on the south end of the lacifrty surrounded by the eight loot perlmeuK fence. These two bears share one
dog igloo type of &ht ltOt. There is not suflicient space lor Lhe all animals In B given enctosute to seek shelter.

These situations do I'Klt anow the all animals to ooc:upy their respective sholtors in a manner that provides tor their
comfort and well boltlg.

A sufficient amount of Shetter &hal be provided to al ei"'Cllo$ures.




                                           t-
3 .127              (d)
FACILmES, OUTDOOR.
Perimeler'"""' No ouldoor housing
'"""' lhal io ot a.~~      ......
                                                  C••-
                                                    lacii1ies 001 ....,ely Indoors) mus1 be enclosed try a perineter
                            twogl110 " - anmaJs and """'-"'orizod -           .... Fences 1ess 1t1an a teet twgh tor
potenoatly clarlgerous - - . ...:h as. bu1001 rmlod to, large -           (e.g lions. 1rg0r0. loopatds. <XlUQ31$. etc.),
beals, -         ~ . and elephants. or less !han 6 feel high lor olhor otimals"""' be awoved in wriling try
!he Admln.5tr8'tor. The fence must be constn.Jcted so thalli protects the an.mall '"the facmty by restricting animals
and unauthOnzed persons ftom going thtough it ot undet 11and having eootact with lhe animals In the faciity, and so
that it C8tl function as n aeoondary containment system for the animals In the tacilily It must be of sufflciem cfi'Staoce
tram the outside ol the ptimary ooclosute lO prevent physical contact between Mlmals Inside the enclOSure and
animals ot porsoos out51do the perimeter fenoe. Such fences kiss than 310tH In diS'a.nce from the l)(imary endosure
must be approvod in wrillng by the Administrator.

The camel and wallaby are each in an enclosure that is not compklteiy surtounded by a perimeter fenoe that is at
'east six loot in hoight. There is a gap apJ)foximately one foot wide betwoon the petlmeler fence and the shed in the
nortMast corner ot tho row ol boars and largo follds. The comer post to which tho l)(lrlmotor fonoo socures has oooo
damaged and is no tonger in plooe.

This ooes not protect the anamals or provide a secondary oonta.Jnment system In ease ol an escape.

A perime1er lenot no less than three teet l rom the pnmary endosure and a t tellS! ;be IMt in helgh.l must be
consttucred to enc:apsutate these enclosures Of the arWnats must be moved to etdo$uln Wl#lln an


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Prepa~        By:
                          CYNTHIA M NElS, A C I          USDA, APtiiS. Arimal Care                 Date:
     Tille:               ANIMAL CARE INSPECTOR                                                    Nov-22·2010
Received By:
                                                                               Date:
     Tille:                                                                    Nov·23·20 I0
                                                Case #C14-2034-JSS             EXHIBIT
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                                            Animal and Plant Hearth Inspection Setvtce


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adequate -l<!noe. To be corrected by:                 """""'be<
                                                   22, 2011 The breocll CJOaled by lhe gap mus1 be dosed
ond lhe perimeter lonot mus1 be ~!ely secured: To be                  "''"'"od
                                                             by: ~ 07, 2010.
3.131     (C)
SANITATlON.

~ Plemises (buildings and grooods) sllal be """' dean anclln good "'""" in Otdef to pro<ea lhe
animals from •l'lfU"Y and 110 fdta:e lhe prescribed h..,.ndry prac8ces sec fof1h '" tt.s subpart. AccurmAaiions of
trast'l Shall be placed In closlgnatod areas and dearGd as nocessary 10 procect tho health ollho animals.

lmmediatety to the &ast of thetiotl, leopard, tiger, and bear enclosures, art~ ptiM ol waste that have been removed
from the enclosures In lhe coUtse of the PfiOt week. There are vat1ous 1tems Slored In the freezer area of the
educational center. The&e items include but are noc limited to: toots., lumber, eml)ly feed cans, and discarded
material. Thertls tlnf old lumber. and insulation m.ateriaJs stored to the east of the lion enclosures. At various spots
in tho cducatlonnt contor and lhe reptile building there arc collections ol wnsto nnd opon garbage receptacles. There
is a colleo11on ol motorial& to the east and the north ot the educational oontor. Theso items include bu1 are not limited
to: banols, eonllt'\JCiion romnanls, a pot carrief', dead vegetative matorlat, oncl a plasUc pooL

These siluatlons provide harbOrS and bfeeding ground$ tor pests ancl v6fmln and inl\lbi1 I)OOd husbandry practices.

Items not b&lng used must be removed and stored in an appropriate manneJ Items needed mu~ be stored in an
organized falhlon and removecl wt1en they are no longer needed. To be corrected by: January 28, 201 1.




3.131               (d)
SANITATION.
Pest conb'ot A saro and etfeccive progmm for the control of insects, ecroporasttes, and avian and mammalfan pests
shall be emabhhed and mruntained.

There is an excessNe presenoe of flies in the ecllJICationat center and In the fflPIIIe building,

This does not provlckl for the health and wei being ot the animals.

An effective tty control program must bo developed and implemented. To be oonootod by: December 31, 2010.




This Inspection was conducted on November 22. 2010. in lhe presence ot the undersigned owner, Inspector 6026,
and the urWrslgned inspGCIOf. The exit review was c:onducted on NtwembM 23, 2010, in the presence of the
unci«Signod owner ond lho unci«Signod .nspeciOf. End ol repon.

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Prepa~        By:
                          CYNTHIA M NElS, A C I            USDA, APHIS. Arimal Care                   Date:
     Title:               ANIMAl CARE INSPECTOR                                                       Nov-22·2010
Received By:
                                                                                                      Date:
     Title:                                                                                    Nov·23·20 10
                        Case 6:14-cv-02034-JSS          Case #C14-2034-JSS
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